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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                  CASE NO. 4:07CR00086-11 JMM

RAYFUS ULESTER DUKES, JR.

                                           ORDER

       Pending is Defendant Dukes’ motion to amend judgment and commitment order.

(Docket # 748). For good cause shown, the motion is GRANTED. The Clerk is directed to

modify the electronic docket to reflect Defendant’s name change to Ra’Qim Farad al-Salahuddin.

The record should reflect that Defendant is formerly known as Rayfus Ulester Dukes, Jr.

       IT IS SO ORDERED this 25th day of January, 2010.


                                                           ______________________________
                                                           James M. Moody
                                                           United States District Judge
